                                  Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 1 of 44

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  purpose of !Illtlatmg the CJV!l docket sheet (SEE INSTRUCTTONS ON NEXT PA(}f, OF THIS FORM}

  l. (a)      PLA~TIFFS                                                                                      DEFENDANTS
     Pentec Health. Inc                                                                                    Shelia Haley and Bond Pharmacy. Inc

       (b) County of Residence of F1Tst I 1sted Plaml!ff            ~                 _                      County of Residence of FITSt Listed Defend
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     Ri&War~~CWJ,~\l'bfatf"· Address. and Telephone Number}
     Morgan Lewis. 1701 Market Street, Philadelphia, PA 19103
     215-963-5511
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     VII. REQUESTED IN     ::J CHECK IF nns IS A CLASS ACTION                                          DEMAND$                                         CHECK YES orily 1f demanded 1nr:J,nt
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         (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the ap~priate calelir/rJ
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  Address of Plaintiff:                            _ SOA~plied Card Way, ~te 102~~1e~_Mills, PA 19342

  Address of Defendant: 8~98 ~ll~a Circle, Selle~bu~g, IN _4!172 and ~~3 Highl~~d Colo~y-~arkway, R1~~~and. MS 39157_

  Place of Accident, Incident or Transaction:


  RELATED CASE, IF ANY:

  Case Number                                                 Judge. __ _                                                Date Terminated·

  Civil cases are deemed related when Yes 1s answered to any of the following questions·

  1.     ls this case related to property included in an earlier numbered smt pendmg or withm one year                      YesD                  NoD
         previously termmated action m this court?

  2.     Does this case mvolve the same issue of fact or grow out of the same transaction as a prior smt                    YesD                   NoD
         pendmg or within one year previously termmated action m this court?

  3      Does this case mvolve the validity or mfrmgement of a patent already in suit or any earlier                        YesO                   NoD
         numbered case pendmg or within one year previously termmated action ofth1s court?

  4      Is this case a second or successive habeas corpus, social secunty appeal, or prose civil nghts                     YesO                   NoD
         case filed by the same ind1v1duaP

  I certify that, to my knowledge, the withm case      D is ~is not related to any case n~w pending or within one year previously termmated action m
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  this court except as noted above

  DATE          06/20/2019                                                  /

                                                                       Attorney-at-Law: Pro Se Plaintiff                               Attorney ID # (if applicable)


  CIVIL: (Place a -.J in one category only)

  A.



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                                                                          ARBITRATION CERTIFICATION
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  I,     __     Richard
                    _   G. Rosenblatt
                             _    ·--- __ .              , counsel of record or prose plamt1ff, do hereby certify
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                P suant to Local CIVll Rule 53 .2, § 3(c) (2). that to the best of my knowledge and behef, the damages recoverable m this civil act10n case
                ex eed the sum of$150,000.00 exclusive ofmterest and costs.

       IV I      R 1ef other than monetary damages 1s sought

                                                                                                                                            JUN 20 2019
                                                                       Attorney-at·law I Pro Se Platntiff                              Attorney ID # (if applicable)

  NOTE A tnal de novo wlll be a tnal by JUI)' only 1fthere has been compliance with FR C P 38

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        Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 3 of 44



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MA..~AGEMENT TRACK DESIGNATION FOR..'1
    PENTEC HEALTH INC.                                                      CIVIL ACTION

    SHELIA HALEY anYt
    BOND PHARMACY INC.,
                                                                                  19          2695
                                                                            NO.
    d/b/a AIS HEALTHCARE
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE O:F THE FOLLOWING CASE MA.~AGEME~T TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

(b) Social Security · Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side ofthis form for a detailed explanation of special                /")(
    management cases.)                                                                            ~

(f) Standard Management -- Cases that do not fall into any one of the other tracks.                 ( )


June 20, 2019                   Richard G. Rosenblatt               Plaintiff
Date                               Attorney-at-law                      Attorney for
 215.963.5511                  215.963.5000                         richard.rosenblatt@morganlewis.com

Telephone                           FAX Number                          E-Mail Address


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         Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 4 of 44




                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 PENTEC HEALTH INC.

                Plaintiff,

        v.
                                                        Civil Action No. ___________
 SHELIA HALEY and BOND PHARMACY
 INC., d/b/a AIS HEALTHCARE

                Defendants.



               COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

                                  NATURE OF THE ACTION

       Plaintiff Pentec Health, Inc., (“Pentec” or “Plaintiff”), by and through its undersigned

counsel, hereby brings the following Complaint against Defendants Shelia Haley (“Haley”) and

Bond Pharmacy Inc., d/b/a AIS HealthCare (“AIS”) (collectively, “Defendants”) seeking

injunctive relief and damages:

                                 PRELIMINARY STATEMENT

               1.      This is a case about a breach of contract and unfair competition by way of

tortious interference with contract. This is not the first attempt by Defendant AIS to steal

Pentec’s market share by inducing Pentec’s current and former highly-skilled nursing staff to

breach their non-competition agreements that preclude them from providing intrathecal infusion

services for a short duration for a competitor of Pentec. Indeed, Defendant Shelia Haley has

accepted the one type of job about which Pentec is concerned – providing the very type of

services she provided for Pentec. Beyond that, Pentec has no objection to Defendant Haley, a

long-time registered nurse, from performing any other skilled nursing services for any entity,

even AIS.
         Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 5 of 44




               2.      AIS’s reason for implementing its strategy is simple: AIS is a relatively

new entrant into the intrathecal infusion therapy market and its quickest way to success (and to

find a buyer for the business) is to hire Pentec trained nurses. But the law doesn’t permit such

short-cuts where the staff AIS seeks to hire have accepted covenants that place limits on their

ability to provide intrathecal infusion services to a competitor such as AIS for a specified

duration. And Pentec’s interest in having its staff agree to these limitations is clear: Pentec has

made a significant investment in developing a specialized training program that is the only such

program accredited by the American Nurses Credentialing Center (“ANCC”) and which allows

Pentec to build goodwill with its physician customers and patients.

               3.      AIS has neither the trained staff nor marketplace goodwill that Pentec has.

Indeed, it has very few, if any, specifically trained nurses to provide intrathecal infusion

therapies. By hiring Pentec nurses, AIS can ride the coattails of Pentec in order to establish

relationships with physician customers who write prescriptions for intrathecal therapies – all

without the investment that Pentec has made over many years.

               4.      AIS’s actions are all the more shocking here because on April 5, 2019,

Judge Lisa Allen of the Court of Common Pleas of Hamilton County, Ohio entered an injunction

against AIS’s employment of another former Pentec nurse (Elise Morgan) to serve the

Cincinnati, Ohio territory. Attached hereto as Exhibit A is a copy of Judge Allen’s Order. In

response, AIS fired Ms. Morgan. While AIS professed in court that there was nothing special

about what a nurse administering intrathecal infusion does and that any trained nurse could do it,

AIS did not replace Ms. Morgan with a local Cincinnati nurse. Rather, it went to the

considerable expense and inconvenience of hiring Defendant Shelia Haley, who treated some of

the same patients as Morgan in the Cincinnati region, to fly into Cincinnati from Indiana to treat




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          Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 6 of 44




patients of a physician she serviced during her tenure at Pentec.1 It is this latest hiring that

spurred this litigation.

                5.         It is no coincidence that AIS has repeatedly targeted former Pentec nurses

for hire to service former Pentec physicians and patients. Pentec has a one of kind training

program in which it has invested hundreds of thousands of dollars to perfect. This significant

investment has resulted in a highly trained nursing group with a reputation for consistent top

quality care. Defendant Haley was not only a beneficiary of that program, but served as one of its

educators. AIS now seeks to capitalize on Pentec’s substantial investment to unfairly compete

with Pentec.

                6.         The Court should not be misled as to what is AIS’s real purpose. On June

12, 2019, when the General Counsel of Pentec, Jeffrey Baker, contacted the General Counsel of

AIS, John Finley, to notify AIS of the fact that Defendant Haley had agreed to a non-compete

agreement that precluded her until December 31, 2019 from providing intrathecal infusion

services on behalf of AIS, Mr. Finley explained AIS’s true intentions in no uncertain terms.

Specifically, Mr. Finley exclaimed to Mr. Baker: “We are going to crush your non-compete in

court and then go around the country and hire every Pentec nurse.”

                7.         Pentec brings this lawsuit to enforce its contractual rights, protect its

investment, and to put an end to AIS’s predatory and unfair practices intended to short-cut to the

gain of market share without having to make the investment that Pentec has made. The Court



1
    It also is likely that AIS may have assumed that if it hired another Pentec nurse from Ohio, it
    could have been stuck back in front of the same judge in Ohio who already enjoined its
    tortious business practices. 28 U.S.C. § 1441(b)(2) (“A civil action otherwise removable
    solely on the basis of the jurisdiction under section 1332(a) of this title may not be removed
    if any of the parties in interest properly joined and served as defendants is a citizen of the
    State in which such action is brought.”).


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         Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 7 of 44




should enjoin Defendant Haley from providing any intrathecal services for AIS until, at the

earliest December 31, 2019 or such later date that will allow Pentec the full one-year benefit of

the agreement it has with her. In so doing, the Court should send a strong message to AIS that its

sharp business practices have no place in a fair marketplace.

                                             PARTIES

               8.      Plaintiff Pentec is a Pennsylvania corporation with a principle place of

business in Pennsylvania.

               9.      Upon information and belief, Defendant AIS is a Mississippi corporation

with a principle place of business in Mississippi.2

               10.     Defendant Haley is a citizen and resident of Indiana.

                                 JURISDICTION AND VENUE

               11.     The District Court has subject matter jurisdiction over this action pursuant

to 28 U.S.C. §1332 since the amount in controversy in the present action exceeds the sum or

value of seventy five thousand dollars ($75,000.00), exclusive of interests and costs, and there

exists complete diversity of citizenship, as Pentec is a citizen of Pennsylvania, AIS is citizen of

Mississippi and Haley is a citizen of Indiana.

               12.     Venue is proper in the District Court pursuant to 28 U.S.C. §1391(b) and

the parties’ venue selection clause found in the Agreement (as defined below).




2
  AIS has conflicting representations on its website regarding its principle place of business as it
lists both Mississippi and Texas. Compare http://www.aispaincare.com/privacy-policy.php with
http://www.aispaincare.com/contact-ais-healthcare.php. (last viewed 6/15/19). Complete
diversity exists regardless of whether the principle place of business is in Mississippi or Texas.


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         Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 8 of 44




                                   FACTUAL ALLEGATIONS

   A. AIS Attempts to Steal Market Share in the Market for Providing Treatment to
      Patients with Intrathecal Pumps by Hiring Restricted Pentec Nurses Without
      Making the Type of Investment Required of Any Fair Market Competitor.

               13.       Pentec is a leading provider of pain medications that are delivered by

surgically implanted, programmable intrathecal pumps, which are in part administered and

monitored by nurses in the comfort of patients’ preferred environment, such as their home,

physician’s office or other healthcare facility.

               14.       Unlike traditional health agencies, Pentec provides a specialized nursing

service to complex patients who suffer from severe pain or spasticity and rely on an implanted

drug delivery system as an essential part of their treatment. These patients have not responded to

traditional therapy and therefore require a small, surgically-implanted medical device called an

intrathecal pump that delivers highly-concentrated medication through a catheter inserted

directly into the intrathecal space surrounding the patient's spinal cord.

               15.       As relevant here, Pentec nurses serve only patients with intrathecal pumps.

Pentec offers patients services that are performed in their own environment by specially-trained

registered nurses who have completed the ANCC accredited training program and are licensed to

practice in the states in which their patients are located.

               16.       AIS Healthcare previously operated under the trade name of Advanced

Infusion Solutions and described itself as a “specialty pharmacy” that compounded medications

prescribed by physicians. Recently, however, AIS purports to have “transformed itself from a

specialty pharmacy to an advanced care services organization.” As part of its transformation,

AIS rebranded itself as AIS HealthCare. http://www.aispaincare.com/corporate-overview.php

(last viewed 6/15/19).




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          Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 9 of 44




               17.     AIS has begun providing many of the same services as Pentec, including

patient-specific intrathecal pump medications for infusion services at the patients’ preferred

environment, such as their home, physician’s office or healthcare facility.

               18.     While AIS and Pentec have long competed in the space for the sale of

infusion pain medications, that is not what this case is about. Rather, this case is about AIS’s

continued unethical efforts to gain ground in the market for providing infusion services to

patients who are prescribed infusion medications to be delivered through intrathecal pumps. AIS

is seeking to avoid devoting the level of expense, resources and other start-up costs needed to

gain share in a new market, in this case, the patient intrathecal infusion services market. AIS

clearly recognizes that it is a lot cheaper to steal Pentec’s business than to actually build its own

business and workforce in this market space.

               19.     Or, as AIS’s own General Counsel proclaimed: “We are going to crush

your non-compete in court and then go around the country and hire every Pentec nurse.”

   B. Pentec Has Invested Steeply in Developing the Only Intrathecal Training Program
      Accredited by the American Nurses Association.

               20.     Like all Pentec nurse new hires, Defendant Ms. Haley was the beneficiary

of Pentec’s intrathecal infusion training program.

               21.     Pentec has the only ANCC accredited training program in the world

for intrathecal pumps, which has contributed to its success as a market leader and established

its brand of reliable and safe treatment.

               22.     This accreditation did not happen over night. It required hundreds of hours

of work and over $200,000 in investment and has evolved through trial and error for the past

decade.




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         Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 10 of 44




                 23.     Pentec created its program from scratch because no other program was, or

is, in existence that meets ANCC standards.

                 24.     To meet ANCC’s standards, Pentec hired external consultants at a

significant cost to ensure that its testing accurately measured an applicant’s competency and

ensured statistical inter-rater reliability.

                 25.     It took Pentec close to two years to create a training program worthy of

initial accreditation.

                 26.     Pentec’s investment in its training program did not cease upon

accreditation. Since 2013, Pentec has continued to evolve the program to meet the changing

needs of patients, changes in technology and to meet ANCC accreditation requirements.

                 27.     Every three years Pentec is required to complete a time-intensive

application process with the ANCC to be recertified for another three year period. This renewal

process requires dozens, if not hundreds, of hours and the hiring of a consultant to prepare an

application containing over 400 pages of materials.

                 28.     Pentec has also invested in a full-time Director of Education whose

responsibility is to implement and evolve Pentec’s training program.

                 29.     Pentec’s extensive training program includes a two-week offsite

orientation where new hire intrathecal nurses (“New Hires”) attend intensive classroom

presentations.

                 30.     The first week of classroom training is presented by a Regional Nurse

Manager and includes a general orientation to Pentec, equipment, procedure, and documentation.




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        Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 11 of 44




                  31.   The second week of classroom presentation is given by a member of

Pentec’s Education team, all of whom have completed a preceptor training program focused on

adult learning.

                  32.   During the second week, New Hires are given hands on practice with

intrathecal drug delivery programmers and practice with accessing IT pumps as well as practice

with the Electronic Medical Record (EMR) system.

                  33.   New Hires are also introduced to clients serviced by Pentec along with the

theory behind administration of intrathecal medications via an implanted pump.

                  34.   After the completion of classroom training, New Hires return to their

home territory to train with a Preceptor, who is an experienced Registered Nurse who completed

a Preceptor Workshop. This one on one training includes all aspects of care, including but not

limited to new admissions, pump refills, pump adjustments, patient assessments, physician

contact and documentation. New Hires are not allowed to provide treatment without the

assistance and presence of a Preceptor until they complete the training and pass their final

examination.

                  35.   At the end of each week, a weekly progress report is provided to the

Regional Nurse Manager and the Director of Education outlining each New Hire’s training

progress and the goals for the coming weeks.

                  36.   After the completion of a new hire’s training, which was typically three

months at the time of Defendant Haley’s hiring but is now one year, new hire nurses take the

New Hire Learning Assessment (“NHLA”). The NHLA is a proctored assessment that can only

be administered by an Educator, Nurse Manager of Customer Education, Chief Nursing Officer

or Registered Nurse Manager.




                                                 8
        Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 12 of 44




                  37.   New Hires are required to obtain a passing grade. New Hires have two

opportunities to obtain a passing grade. If they do not obtain a passing grade on the second

attempt, they are terminated. Even if they pass the test, new hires receive remedial training for

incorrect answers.

                  38.   Orientation is not completed until the Preceptor, the Chief Nursing

Officer, Director of Education, and the Regional Nurse Manager are in agreement that the New

Hire successfully completed all areas of the Initial Competency Tool for Nurses. In furtherance

of this assessment, a conference call is held during which an Orientation Progress Final Report is

completed. At this time a mentor is assigned to each New Hire to further training.

                  39.   To put a single nurse through this extensive training program costs Pentec

well over $50,000.

                  40.   Pentec’s training program has contributed to its reputation for having

dependable high quality care, which has in turn provided Pentec with a competitive advantage in

the market for intrathecal services. This competitive advantage has led to Pentec’s dramatic

growth over the past six years from roughly 300 patients prior to accreditation to over 5,000

patients today.

                  41.   This extensive training program also contributed to Pentec’s recent

recognition of being the only intrathecal home health agency to receive the prestigious Pathway

to Excellence award. The ANCC Pathway to Excellence Program is the premier designation for

healthy work environments and recognizes health care organizations that demonstrate a

commitment to establishing the foundation of a healthy workplace for staff. To receive such an

award, a health care organization must meet six standards (previously 12 standards when Pentec

received the award) that reflect foundational elements for a positive practice environment.




                                                 9
        Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 13 of 44




(https://www.nursingworld.org/organizational-programs/pathway/overview/pathway-program-

overview/) (last viewed 6/16/19).

               42.     Notably, not a single competitor, including AIS, have made the significant

investment necessary to establish an accredited program for the provision of intrathecal infusion

therapies.

               43.     Instead, it would appear, AIS has resorted to capitalizing on Pentec’s

significant investment by inducing former Pentec employees to breach their post-employment

obligations to Pentec. Or as AIS’s General Counsel put it: it planned to “go around the country

and hire every Pentec nurse.”

   C. Defendant Haley’s Roles at Pentec.

               44.     Defendant Haley was hired by Pentec on July 8, 2013 as a staff nurse

within the Nursing-SI department and served Pentec’s patients in Ohio, Kentucky and Indiana.

               45.     In her role as a staff nurse with Pentec, Defendant Haley was responsible

for visiting Pentec patients at their homes and in doctors’ offices to administer their pain

medication via intrathecal pumps.

               46.     As part of her role, Defendant Haley had access to, and utilized,

confidential information of Pentec, including records pertaining to Pentec customers and patient

lists, details as to the customer treatment, needs, costs, charges, pricing, and other proprietary

and patient information not publicly available.

               47.     Defendant Haley subsequently requested, and received, a reassignment to

the position of traveler nurse on or about March 1, 2015 and was based out of Florida.

               48.     In this role she performed the same duties as a staff nurse but was required

to provide care to patients throughout the United States.




                                                  10
          Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 14 of 44




               49.     Defendant Haley again changed positions to a Nurse Educator on July 31,

2016 where she served as a teacher and Preceptor in Pentec’s aforementioned training program.

               50.     Defendant Haley worked with the Nurse Manager of Customer Education

and Regional Nurse Managers to build a streamlined training process that monitors and

minimizes the time to new nurse competency.

               51.     Defendant Haley also worked with other Nurse Educators and personnel

employed by intrathecal pump manufacturers; studied industry literature and attended

educational programing to continually evaluate, update and improve Pentec’s training program.

               52.     As a Nurse Educator, Defendant Haley had access to confidential Pentec

training materials such as the tests, testing criteria and tools to measure competency of nurses.

This information was tightly controlled by Pentec’s education department and trainees were not

allowed access to these materials or even retain their completed tests. This information, if

disclosed to, or used on behalf of AIS, would provide AIS an unfair competitive advantage,

essentially allowing it to freeload off of Pentec’s massive investment in training its skilled

nurses.

               53.     Notably, Defendant Haley was one of the educator’s for Elise Morgan, the

former Pentec employee that AIS hired in Cincinnati, Ohio four months ago and subsequently

fired following the injunction entered against her for breach of her restrictive covenant.

               54.     Defendant Haley was also one of six Pentec employees involved in the

ANCC credentialing renewal process in 2016, which gave her access to the inner workings of the

program and insight into Pentec’s methods for achieving accreditation.

               55.     In addition to teaching new hires at the corporate office during the initial

two weeks of classroom training, Defendant Haley traveled the United States providing on-site




                                                 11
        Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 15 of 44




continuing education to Pentec’s nurses and, on an as needed basis, intrathecal services to

patients and physicians.

               56.     As part of this position, Defendant Haley was required to maintain a

nursing license for all states in which Pentec operated, or intended to operate which totaled

approximately 38 states. With the exception of Defendant Haley’s home state, Pentec paid for

all licenses, including in Ohio where she is now covering the territory that former Pentec nurse

Elise Morgan covered before the entry of the injunction against her.

               57.     Defendant Haley again changed positions with Pentec on December 17,

2017 to a Registered Nurse. Prior to her reassignment, Pentec combined the staff nurse and

traveler nurse roles to create the Registered Nurse position. In that position, Defendant Haley

provided intrathecal services to Pentec patients and physicians across the United States.

   D. Defendant Haley’s Non-Compete, Non-Service and Non-Disclosure Agreement.

               58.     Defendant Haley, like other Pentec nurses, agreed to a Non-Competition,

Non-Solicitation, Confidentiality and Assignment of Inventions Agreement (the “Agreement”) at

the commencement of employment. Attached hereto as Exhibit B is a copy of Defendant Haley’s

Agreement. The Agreement contains certain non-compete, non-solicit and confidentiality

covenants that are intended to protect Pentec’s legitimate business interests, including its

significant investment in Defendant Haley’s training, Pentec’s training program, physician and

patient goodwill, and to protect against unfair competition and misappropriation of confidential

information.

               59.     The Agreement prohibits Defendant Haley from disclosing or using

Pentec’s confidential information for any purpose other than carrying out her duties as a Pentec

employee both during and after her employment. Specifically, the Agreement provides that




                                                 12
         Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 16 of 44




“[Y]ou shall not disclose any Proprietary Information [as defined in the Agreement] to any

person or entity that does not owe a duty of confidentiality to the Company.” Exhibit B, Section

1 (a).

               60.     The Agreement also includes a one year non-compete and non-solicit

agreement. Exhibit B, Section 3 (a). The non-compete prohibits Ms. Haley from competing with

Pentec in its Field of Interest, which is defined as:

               (A) the administration of medications, nutrients or other solutions
               and therapies (including anti-infectives, chemotherapy, pain
               management, parenteral and enteral nutrition, inotropic therapy,
               hydration therapy, immunotherapy, blood transfusion, steroid
               therapy, tocolytic therapy, growth hormones and the like) by a
               qualified home infusion therapy provider to individuals in their
               homes, nursing facilities or settings other than hospitals (“Home
               Infusion”). Home Infusion also includes the provision of
               professional services (such as nursing services) as well as supplies
               and equipment needed to administer medications, nutrients or other
               solutions or therapies to individuals in their homes, nursing
               facilities or settings other than hospitals; and (B) the operation of a
               coordinated system of pharmacological care, administration and
               monitoring for patients with chronic illness and complex medical
               conditions, which includes dispensing and distributing (via mail
               order and otherwise) injectable and infusible high cost medicinal
               preparations and therapies to patients who are undergoing intensive
               therapies for illnesses that are generally chronic, complex and
               potentially life threatening. For purposes of this Agreement, a
               business will be deemed competitive with [Pentec] if it engages in
               a line of business in the Field of Interest . . . .

Exhibit B, Section 3 (a)(i).

               61.     The non-solicit agreement prohibits Defendant Haley from soliciting, for

the purposes of competing in the Field of Interest with Pentec, patients, customers, referral

sources or patrons of Pentec, or any prospective patients, customers, referral sources or patrons

with respect to which Pentec has developed or made a presentation for the use or exploitation of

products or processes in the Field of Interest. Exhibit B, Section 3 (a)(ii).




                                                  13
        Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 17 of 44




               62.     As a reminder of her obligations to the company, Pentec had Ms. Haley

reaffirm her obligations under the Agreement when she changed roles. Attached here to as

Exhibit C is a copy of Defendant Haley’s Reaffirmation of the Agreement.

   E. Defendant Haley’s Breach of the Agreement and AIS’s Inducement of the Same in
      an Effort to Enter and Unfairly Compete in the Intrathecal Infusion Service
      Market.

               63.     On December 13, 2018, Defendant Haley resigned from her Pentec

position effective December 31, 2018. She explained that she was doing so because of her need

to help care for her mother and fatigue from traveling.

               64.     Apparently, however, AIS has lured Defendant Haley back to work.

Pentec recently has learned that Defendant Haley now is using her registered nurse licenses on

behalf of AIS to fill and manage intrathecal pump care on behalf of patients at least in the

Cincinnati area and likely elsewhere.

               65.     Upon information and belief, Defendant Haley’s position and

responsibilities with AIS are similar to, if not the same, as her prior role with Pentec.

               66.     AIS was, and is, aware of Ms. Haley’s Agreement prior to hiring her.

               67.     Upon information and belief, AIS induced Ms. Haley to breach the

Agreement for its own pecuniary gain.

               68.     As noted above, this is not the first time that AIS has hired a Pentec nurse

in violation of her restrictive covenant. Specifically, four months ago, AIS hired Elise Morgan,

then an active Pentec nurse, also in violation of a non-compete agreement, to serve the very same

physician, Dr. Akbik, in Cincinnati Ohio, that Defendant Haley is now serving. Defendant

Haley, like Morgan, treated Dr. Akbik’s patients during her tenure at Pentec.




                                                 14
        Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 18 of 44




               69.     To protect its legitimate business interest, Pentec filed a complaint against

Elise Morgan and AIS seeking injunctive relief and damages.

               70.     Pentec moved for, and obtained, a temporary restraining order (the

“TRO”) in the Hamilton County Court of Common Pleas preventing Morgan from violating her

agreement and AIS from inducing her to do the same.

               71.     After the entry of the TRO, AIS terminated Morgan’s employment.

               72.     Notably, Dr. Akbik did not displace Pentec with AIS for the provision of

intrathecal pump nursing care until such time as AIS had been able to obtain a former Pentec

nurse to service his patients. Initially, that was Ms. Morgan. Since Ms. Morgan could not provide

services, AIS needed someone else who could meet Dr. Akbik’s needs. As such, it does not

appear to be a coincidence that AIS – desperate to satisfy its new and influential customer, Dr.

Akbik, has, again, hired a Pentec nurse in violation of her restrictive covenant in order to secure

the market share that it illegally stole away initially on the back of Ms. Morgan.

               73.     Instead of investing in its own workforce or hiring any number of

available nurses who are not subject to a non-compete, AIS has again targeted and hired a former

Pentec employee to serve a former Pentec physician and Pentec patients. Given that,

undoubtedly, there are other nurses available to service patients receiving AIS infusion services,

the question is begged as to why AIS continues to insist on hiring Pentec nurses who are subject

to restrictive covenants? The answer is quite straight-forward: AIS knows that Pentec’s nurses

are well-trained in providing intrathecal infusion treatment and care, and so do physicians such

as Dr. Akbik who prescribe such treatments.

   F. Pentec Has Notified Defendants of their Wrongful Actions.




                                                 15
        Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 19 of 44




               74.     On June 7, 2019, Karen McHenry, Senior Vice President of Nursing

Services, called Defendant Haley to confirm whether information that Pentec had heard about

her providing intrathecal infusion services on behalf of AIS was true. Defendant Haley answered

the call, but stated that she would be calling back. When Defendant Haley did not call back, Ms.

McHenry left a voicemail providing her phone number and requesting a return call. Defendant

Haley still did not respond.

               75.     On June 14, 2019, Ms. McHenry sent an email, which included a copy of

the Agreement, to Defendant Haley requesting a call by June 19, 2019 to discuss job

opportunities at Pentec now that she had reentered the workforce. The letter also notified

Defendant Haley that her employment with AIS violated her Agreement. On June 15, 2019, Ms.

McHenry sent a letter with the same text as the email, along with a copy of the Agreement, to

Ms. Haley via FedEx overnight.

               76.     Pentec has not received a response to Ms. McHenry’s voicemail, email or

letter, leaving Pentec with no choice but to commence this action to protect its rights and

legitimate business interests.

               77.     AIS has wrongly retained former Pentec patients and/or physician

customers who desire the quality of care provided by Pentec by hiring former Pentec employees,

such as Defendant Haley (and Elise Morgan prior thereto), despite their agreements not to

compete for limited time period.

               78.     Defendant Haley and AIS have also wrongly capitalized on the investment

made by Pentec in Defendant Haley’s training and her almost nationwide licensure, all paid for

(with the exception of her home state license) by Pentec.




                                                16
            Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 20 of 44




                 79.   Defendant Haley and AIS also are attempting to capitalize on Pentec’s

goodwill with physicians and patients to obtain an unfair competitive advantage.

                 80.   As a result of Defendant Haley’s and AIS’s actions, Defendants have been

able to unfairly compete with Pentec and Pentec’s goodwill with physicians and patients and

opportunity to obtain and retain business has been wrongly damaged.

                 81.   Although Pentec cannot calculate the value of the harm caused by

Defendants’ conduct, it is clearly in excess of $75,000.00 given the investment Pentec made in

developing its training program and training Defendant Haley and the continued loss of revenue

from and goodwill with physicians and patients. In addition, Defendant AIS stands to continue

to be unjustly enriched by virtue of its unfair competitive efforts in an amount far in excess of

$75,000. Finally, Defendant Haley’s agreement requires her to pay for Pentec’s attorneys’ costs

and expenses for having to enforce the agreement. Exhibit B, Section 5 (f).

                                 FIRST CLAIM FOR RELIEF
                                     (Breach of Contract)
                                       (Against Haley)

                 82.   The foregoing paragraphs are incorporated herein as if set forth in their

entirety.

                 83.   The Agreement is a valid and binding contract between Pentec and

Defendant Haley which is supported by adequate consideration.

                 84.   The restrictions contained in the Agreement against competition,

solicitation, and the disclosure and misuse of confidential information are reasonable in time,

scope, and territory in light of the protection needed by Pentec.

                 85.   On information and belief, Defendant Haley breached her contractual

obligations to Pentec under the Agreement by:




                                                 17
            Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 21 of 44




                       a.      accepting employment with AIS as a registered nurse performing
                               similar, if not the same, duties as her role with Pentec; and

                       b.      in other particulars to be adduced through further investigation,
                               discovery, or at trial.

                 86.   As a direct and proximate result of Defendant Haley’s misconduct, Pentec

has suffered, and will, suffer irreparable harm, including harm to its goodwill with physicians

and patients, ability to obtain and retain business and damages.

                 87.   Pentec has also incurred incidental and consequential damages that were

reasonably within the anticipation of Pentec and Defendant Haley when the Agreement was

entered.

                 88.   Pursuant to Section 5(f) of the Agreement, Pentec is entitled to receive

compensation for all costs and expenses resulting from Defendant Haley’s breach, including

legal fees and expenses.

                 89.   Pentec is entitled to injunctive relief to prevent Defendant Haley from

engaging in further misconduct that has, and will continue to, inflict irreparable harm to its

business and to recover damages from Defendant Haley.

                               SECOND CLAIM FOR RELIEF
                       (Tortious Interference with Contractual Relations)
                                          (Against AIS)

                 90.   The foregoing paragraphs are incorporated herein as if set forth in their

entirety.

                 91.   Upon information and belief, when AIS solicited, recruited, hired and/or

contracted with Defendant Haley, AIS knew that Defendant Haley would breach her valid

Agreement with Pentec.

                 92.   Even in the unlikely event that AIS did not know Ms. Haley was subject to

a non-compete agreement, it was on notice as of June 12, 2019.


                                                 18
            Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 22 of 44




                 93.    AIS maliciously, willfully and intentionally interfered with the

Agreement.

                 94.    AIS induced Ms. Haley to breach the Agreement for its own pecuniary

benefit.

                 95.    AIS’s foregoing actions were done without justification and have or will

cause Pentec actual pecuniary harm.

                 96.    As a direct and proximate result of AIS’s misconduct, Pentec has suffered,

and will suffer, irreparable harm, including harm to its goodwill with physicians and patients and

the ability to obtain and retain business.

                 97.    Pentec is entitled to injunctive relief to prevent AIS from engaging in

further misconduct that has, and will continue to, inflict irreparable harm to its business and to

recover damages from AIS and punitive damages.

                                 THIRD CLAIM FOR RELIEF
                                    (Unfair Competition)
                                       (Against AIS)

                 98.    The foregoing paragraphs are incorporated herein as if set forth in their

entirety.

                 99.    Upon information and belief, when AIS solicited, recruited, hired and/or

contracted with Defendant Haley, AIS knew that Defendant Haley would breach her valid

Agreement with Pentec.

                 100.   AIS has willfully and intentionally interfered with the Agreement in hopes

of capitalizing on Pentec’s investment in Defendant Haley’s training and leveraging the good

will associated with the quality of Pentec’s nurses.




                                                 19
            Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 23 of 44




                 101.   Defendant Haley, a former Pentec nurse and subject of enforceable non-

compete and non-service covenants, has treated former Pentec patients.

                 102.   But for Defendants’ conduct, Pentec would have been able to reacquire

business with recently separated patients, reestablish relationships with recently separated

physicians and would have secured the business of new physicians and/or patients.

                 103.   AIS has undertaken the foregoing conduct to avoid the types of investment

that a business starting up a new service or in a new territory otherwise would have to make.

AIS’s business tactics are competitively unfair and unethical.

                 104.   Defendants’ foregoing actions were done without justification and have or

will cause Pentec actual pecuniary harm.

                 105.   Defendants’ foregoing actions were done with malice and the knowledge

that they were unfairly competing with Pentec.

                 106.   As a direct and proximate result of Defendants’ misconduct, Pentec has

suffered, and will suffer, irreparable harm, including harm to its goodwill with physicians and

patients and its ability to obtain and retain business.

                 107.   Pentec is entitled to injunctive relief to prevent Defendants from engaging

in further misconduct that has inflicted, and will continue to inflict, irreparable harm to its

business and to recover damages from Defendants and punitive damages.

                                FOURTH CLAIM FOR RELIEF
                                    (Unjust Enrichment)
                                       (Against AIS)

                 108.   The foregoing paragraphs are incorporated herein as if set forth in their

entirety.




                                                  20
         Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 24 of 44




               109.    Upon information and belief, when AIS solicited, recruited, hired and/or

contracted with Defendant Haley, AIS knew that Defendant Haley would breach her valid

Agreement with Pentec.

               110.    AIS has willfully and intentionally interfered with the Agreement in hopes

of capitalizing on Pentec’s investment in Defendant Haley’s training and leveraging the good

will associated with the quality of Pentec’s nurses.

               111.    AIS’s hiring of Defendant Haley provides it with the benefit of a fully

trained intrathecal nurse and educator and the goodwill that accompanies these credentials.

               112.    Defendant Haley has treated former Pentec patients in her nursing role

with AIS.

               113.    But for Defendants’ conduct, Pentec would have been able to reacquire

business with recently separated patients, reestablish relationships with recently separated

physicians and would have secured the business of new physicians and/or patients.

               114.    AIS has undertaken the foregoing conduct to avoid the types of investment

that a business starting up a new service or in a new territory otherwise would have to make.

               115.    AIS has been unjustly enrichment by the foregoing actions which were

done without justification and have or will cause Pentec actual pecuniary harm.

               116.    Defendants’ foregoing actions were done with malice and the knowledge

that they were unfairly competing with Pentec.

               117.    As a direct and proximate result of Defendants’ misconduct, Pentec has

suffered, and will suffer, irreparable harm, including harm to its goodwill with physicians and

patients and its ability to obtain and retain business.




                                                  21
            Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 25 of 44




                 118.   Pentec is entitled to injunctive relief to prevent Defendants from engaging

in further misconduct that has inflicted, and will continue to inflict, irreparable harm to its

business and to recover damages from Defendants and punitive damages.

                                  FIFTH CLAIM FOR RELIEF
                                   (Injunctive Relief – Rule 65)
                                     (Against Haley and AIS)

                 119.   The foregoing paragraphs are incorporated herein as if set forth in their

entirety.

                 120.   As set forth above, on information and belief, Defendant Haley is in

breach of the Agreement by virtue of accepting employment with AIS as a registered nurse and

by performing similar, if not the same, duties as her role with Pentec; treating former Pentec

patients; and in other particulars to be adduced through further investigation, discovery, or at

trial.

                 121.   As a direct and proximate result of Defendant Haley’s breach of contract,

AIS’s inducement of the same, Pentec’s business has been damaged.

                 122.   Because of the nature of Defendants’ conduct, there is a strong likelihood

that Pentec will succeed on the merits of this case if this case proceeds to trial.

                 123.   Because of the nature of Defendants’ conduct and the substantial

similarity between Defendant Haley’s current work for AIS and her work at Pentec, Defendants’

conduct irreparably harms Plaintiff’s business interests in that it creates a substantial likelihood

of imminent injury to its goodwill with patients and physicians and to business opportunities

with the same.

                 124.   Immediate injunctive relief is reasonably necessary to protect Pentec’s

interests during the pendency of this litigation.




                                                    22
        Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 26 of 44




               125.    Pursuant to Rule 65 is entitled to injunctive relief to prevent Defendant

Haley from her continued violation of the Agreement; to stop AIS from inducing Defendant

Haley to violate her Agreement; and stop Defendants from unfairly competing with Pentec.

               WHEREFORE, Pentec respectfully prays the Court that:

       1.      The Court enter a temporary restraining order enjoining

                       a. AIS from employing Defendant Haley in Pentec’s Field of Interest (as

                          defined in the Agreement), which, for purposes of this litigation,

                          includes any activities or services related to intrathecal infusion

                          therapies; and

                       b. Defendant Haley from working for AIS, or any other competitor of

                          Pentec, in Pentec’s Field of Interest, which, for purposes of this

                          litigation, includes any activities or services related to intrathecal

                          infusion therapies.

       2.      After fourteen (14) days, the Court enter a subsequent preliminary injunction

enjoining Defendants from operating in violation of the Agreement and unfairly competing with

Pentec until such time as this case can be decided on its merits;

       3.      The Court finds that Defendant Haley’s conduct is in violation of the Agreement

and the contractual obligations owed by her to Pentec;

       4.      The Court enters a Judgment permanently enjoining Defendant Haley from

violating the Agreement for one year from December 31, 2018 plus such additional time during

which Defendant Haley was in breach of the Agreement;

       5.      The Court enters a Judgment permanently enjoining Defendants’ from unfairly

competing with Pentec;




                                                23
        Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 27 of 44




       6.      Pentec have and recover damages in excess of $75,000.00 from Defendant Haley

for her breach of contract, including all of its expenses and legal fees;

       7.      Pentec have and recover damages in excess of $75,000.00 and punitive damages

from AIS for its tortious interference with the Agreement between Pentec and Defendant Haley;

       8.      Pentec have and recover damages in excess of $75,000.00 and punitive damages

from AIS for its unfair competition with Pentec.

       9.      Pentec have and recover damages in excess of $75,000.00 and punitive damages

from AIS for its unjust enrichment to the detriment of Pentec.

       10.     Pentec have such other and further relief as the Court shall deem just and proper.



                                                       Respectfully submitted,

                                                       /s/
                                                       Richard G. Rosenblatt
                                                       MORGAN, LEWIS & BOCKIUS LLP
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                                                       ATTORNEYS FOR PLAINTIFF




                                                 24
         Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 28 of 44




                                        VERIFICATION

       I, Karen McHenry, Senior Vice President of Nursing at Pentec Health Inc., verify under


the penalty of perjury and pursuant to 28 U.S.C. § 1746 that the allegations made in the

complaint are tme and correct to the best of my knowledge.


Executed on June 20, 2019. /
                                                 i//


                                                Affj^a.....^ S3 I ttt/hi
                                             Karen McHenry




                                               25
        Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 29 of 44




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing document was served this

20th day of June, 2019, via hand delivery upon the following:


                                          Shelia Haley
                                       8498 Villa Circle
                                     Sellersburg, IN 47172
                                           Defendant

                          Bond Pharmacy, Inc., d/b/a AIS Healthcare
                             c/o National Registered Agents Inc.
                             645 Lakeland East Drive, Suite 101
                                    Flowood, MS 39232
                                          Defendant




                                                    /s/
                                                    Richard G. Rosenblatt




                                               26
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 30 of 44




               Exhibit A
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 31 of 44
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 32 of 44
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 33 of 44




               Exhibit B
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 34 of 44
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 35 of 44
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 36 of 44
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 37 of 44
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 38 of 44
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 39 of 44
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 40 of 44
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 41 of 44
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 42 of 44




               Exhibit C
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 43 of 44
Case 2:19-cv-02695-NIQA Document 1 Filed 06/20/19 Page 44 of 44
